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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    PLANO DIVISION

CONSTANCE SWANSTON and                           §
WOMEN’S ELEVATED SOBER LIVING                    §
LLC. and SHANNON JONES                           §
                                                 §
     Plaintiffs,                                 §
                                                 §
v.                                               §    CASE NO. 4:19-CV-00412-ALM
                                                 §
CITY OF PLANO, TEXAS                             §
CITY OF PLANO’S BOARD OF                         §
ADJUSTMENT                                       §
                                                 §
     Defendant                                   §

                               NOTICE OF WITHDRAWAL
                           OF PLAINTIFFS’ MOTION IN LIMINE

         In light of the Court’s Order of May 17, 2020 [Dkt. 60] Plaintiffs withdraw their pending

Motion in Limine [Dkt. 54, 55]. A new Motion in Limine will be filed in accordance with the

Court’s Order.

         DATED: August 19, 2020

                                                     Respectfully submitted,


                                                     _______________________________
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                                                    ATTORNEYS FOR SWANSTON AND
                                                    ELEVATED


                               CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing instrument was served on all parties through their

respective counsel of record in accordance with Rule 5 of the Federal Rules of Civil Procedure on

August 19, 2020.

                                                    __________________________
                                                    Richard M. Hunt




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